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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION


Richard L. Sealey,

                       Petitioner,

v.                                      Case No. 1:14-cv-285-MLB

Bruce Chatman,

                       Respondent.

_________________________________/


                                ORDER

     Before the Court is Petitioner Richard L. Sealey’s motion (Dkt. 89)

to reopen this matter for consideration of his claim challenging Georgia’s

lethal injection procedures. Respondent opposes the motion (Dkt. 90).

I. Background

     Petitioner, a prisoner currently under a sentence of death by the

State of Georgia, filed a petition for a writ habeas corpus pursuant to 28

U.S.C. § 2254 in this Court challenging his convictions and sentence. On

November 9, 2017, Judge Willis B. Hunt, Jr., entered an order denying

the petition (Dkt. 66). In denying relief, Judge Hunt determined that
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Petitioner’s Ground XXIII, in which Petitioner claimed that his execution

under Georgia’s lethal injection procedures would violate his Eighth

Amendment rights, must be brought under 42 U.S.C. § 1983 rather than

in a habeas corpus proceeding (Dkt. 66 at 100 (citing Tompkins v.

Secretary, Dept. of Corrections, 557 F.3d 1257, 1261 (11th Cir. 2009) (“A

§ 1983 lawsuit, not a habeas proceeding, is the proper way to challenge

lethal injection procedures.”)).

      The Eleventh Circuit recently issued an opinion in Nance v.

Comm’r, Georgia Dep’t of Corr., 981 F.3d 1201, 1203 (11th Cir. 2020) cert.

granted sub nom Nance v. Ward, Case No. 21-439, 2022 WL 129503 (U.S.

Jan. 14, 2022),1 in which it determined that when a state prisoner’s

method-of-execution challenge, if successful, would have the necessary

effect of preventing the prisoner’s execution, the claim must be raised in

a petition for a writ of habeas corpus brought pursuant to § 2254 rather

than in a § 1983 civil rights action. In his now-pending motion, Petitioner

contends that because he sought “an injunction barring Georgia from



1
 As indicated by the citation, the Supreme Court recently granted Michael Nance’s
petition for a writ of certiorari, and argument will be held in that case in April of this
year.



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executing him by lethal injection” (Dkt. 89 at 6) in his petition, and

because lethal injection is the only authorized method of execution in

Georgia, his success on the merits of that claim would render Georgia

unable to carry out his death sentence. Petitioner thus argues that his

claim must be considered under § 2254 per Nance, and he requests that

this action be reopened for this Court to consider his claim.

     Respondent disagrees with Petitioner’s contention that he has

challenged the constitutionality of lethal injection as a form of execution

and contends that, even after Nance, the claim Petitioner raised in his §

2254 petition must be brought pursuant to § 1983. Respondent also

points out that this Court denied Petitioner’s claim, albeit without

prejudice, and, as a result, before he can litigate this claim before this

Court under § 2254, he must seek authorization from the Eleventh

Circuit to file a successive petition under 28 U.S.C. § 2244(b)(3)(a).

Because Petitioner has not sought pre-authorization from the Eleventh

Circuit, Respondent contends that this Court lacks jurisdiction to

consider the claim.




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II. Discussion

      Having reviewed the record, this Court concludes that Respondent

is correct that the lethal injection claim Petitioner raised in his petition

must be pursued in a § 1983 suit.2 To be clear, the Eleventh Circuit in

Nance did not change its precedent that challenges to execution

procedures must generally be brought pursuant to § 1983. Nance, 981

F.3d at 1206. Rather, the court carved out an exception to that rule with

respect to “a type of method-of-execution challenge that would be

cognizable only in habeas,” that is “a constitutional challenge seeking to

permanently enjoin the use of” a state’s sole, statutorily-authorized

method of execution. Id. For example, the plaintiff in Nance alleged that,

because of his unique medical situation, the Constitution bars Georgia

from executing him by any form of lethal injection, and lethal injection is

Georgia’s only statutory method of execution.

      By contrast, in this action Petitioner did not raise a method-of-

execution challenge that, if successful, would prevent his execution by

lethal injection in any form.       Ground XXIII of Petitioner’s amended



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  The Court thus declines to address Respondent’s second argument that Petitioner’s
claim is now successive.


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petition for a writ of habeas corpus is captioned “Petitioner Cannot Be

Subjected to Lethal Injection Because to Do So Would Be Cruel and

Unusual Punishment in Violation of Petitioner’s Rights under the Fifth,

Sixth, Eighth and Fourteenth Amendments” (Dkt. 40 at 165). While that

heading may indicate that he challenges the implementation of lethal

injection generally, the discussion of the claim in his amended petition

and in his brief in support of the petition (Dkt. 47 at 252-91) clearly

demonstrates that he challenges only (1) the protocols and procedures

adopted by the Georgia Department of Corrections (GDOC) to carry out

executions (including the manner in which the GDOC procures its lethal

injection drugs), and (2) the State’s Lethal Injection Secrecy Act,

O.C.G.A. § 42-5-36(d), which makes information about the source of the

State’s lethal injection drugs and about the GDOC staff implementing

lethal injections a state secret not subject to disclosure.3

      In his arguments in support of his Ground XXIII, Petitioner points

out that Georgia encountered difficulty obtaining certain drugs in its



3
  In his reply brief, Petitioner requested that the Court dismiss his lethal injection
claim as unripe with leave to refile when the claim ripens (Dkt. 63 at 150-51). Judge
Hunt did not grant that request as he clearly dismissed the claim as not cognizable
under § 2254.


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lethal injection protocol and, as a result, has had to change its drug

protocol multiple times. At present, it appears that Georgia uses a single

drug, pentobarbital, to execute condemned prisoners, but Petitioner

contends that there is no FDA-approved source of that drug. The State

must therefore resort to a compounding pharmacy to produce its

pentobarbital, rendering the drug illegally obtained and potentially

tainted and/or unsafe such that use of the drug presents a risk of

substantial pain intolerable under the Eighth Amendment. Petitioner

also complains that, because of the Secrecy Act, the State refuses to

inform death row prisoners about the pharmacy that produces the

pentobarbital, which improperly limits Petitioner’s ability to determine

whether the drug is appropriately produced and violates his due process

and Sixth Amendment rights.       Petitioner further contends that the

GDOC’s protocols and procedures do not contain the safeguards

necessary to ensure that the drugs will not cause him intolerable pain or

that the personnel carrying out the execution are qualified to do so

without mutilating Petitioner’s body or causing him unnecessary pain or

discomfort in violation of his Eighth Amendment rights.        In closing,

Petitioner requests only that the Court grant him habeas corpus relief



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with respect to his death sentence without providing specifics of the relief

he seeks.

     Contrary to his arguments in his motion (Dkt. 91), Petitioner did

not allege in his petition or his brief (1) that lethal injection is

unconstitutional,   (2)   that   Georgia’s   lethal   injection   statute   is

unconstitutional, or (3) that the State cannot constitutionally execute

him using lethal injection. Neither does he seek an injunction barring

the State from executing him via lethal injection.        Where Petitioner

argues that “Georgia’s use of lethal injection as a method of execution is

inconsistent with the evolving standards of decency that mark the

progress of a maturing society, [and] constitutes cruel and unusual

punishment under the Eighth and Fourteenth Amendments,” (Dkt. 40 at

172) it is clear from the context of his discussion that Petitioner means

that the manner in which the GDOC has obtained its lethal injection

drugs, adopted its protocols, and carries out executions violates the

Constitution, not that lethal injection generally is unconstitutional.

     Georgia’s lethal injection statute states:

     All persons who have been convicted of a capital offense and
     have had imposed upon them a sentence of death shall suffer
     such punishment by lethal injection. Lethal injection is the
     continuous intravenous injection of a substance or substances


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     sufficient to cause death into the body of the person sentenced
     to death until such person is dead.

O.C.G.A. § 17-10-38(a).

     Under the statute, the choice of the substances used and the

protocols established to deliver those substances is left to the GDOC. Hill

v. Owens, 738 S.E.2d 56, 60-64 (Ga. 2013). Indeed, in his brief in support

of his petition, Petitioner acknowledges that “Georgia’s lethal injection

statute does not limit the drugs that the Georgia can use when carrying

out executions” and notes that the State can change its protocol at will

(Dkt. 47 at 281-82).

     A ruling by this Court that Georgia’s chosen drug or the protocol

implemented to carry out an execution violated the Constitution would

not necessarily imply the invalidity of Petitioner’s death sentence. See

Nance, 981 F.3d at 1206. Rather, in the event that this Court determined,

for example, that the State improperly sourced its lethal injection drug

or that the protocol adopted by the GDOC created an intolerable risk of

substantial pain, this Court could craft relief that simply required the

State to change its drug, the manner in which it obtained the drug, or its

procedures for delivering the drug. Likewise, Petitioner’s challenge to

§ 42-5-36(d), the Secrecy Act, does not implicate the validity of


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Petitioner’s death sentence as this Court could simply require the State

to disclose the information without vacating the death sentence.

     Moreover, even if this Court were to read Petitioner’s Ground XXIII

as expansively as he argues, he nonetheless fails to raise a valid facial

challenge to Georgia’s lethal injection law. In order to state such a claim,

Petitioner must “first identify[] a ‘feasible, readily implemented’

alternative procedure that would ‘significantly reduce a substantial risk

of severe pain,’” Bucklew v. Precythe, 139 S. Ct. 1112, 1119 (2019)

(quoting Baze v. Rees, 553 U.S. 35, 52 (2008)), and he has not done so.

Baze, the opinion in which the Supreme Court first announced the

requirement that method-of-execution challenges must include a

proposed alternative method of execution was issued more than five

years before Petitioner initiated this action. Petitioner’s attorneys were

undoubtedly aware of the requirement when they drafted the petition,

and if they had intended to raise a facial challenge to lethal injection

generally, they would have included an alternative method as part of

their claim. In the absence of a proposed alternative procedure Petitioner

cannot reasonably claim that he has raised a facial challenge to lethal




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injection such that his success on the claim would necessarily imply the

invalidity of his death sentence.

III. Conclusion

     This Court thus concludes that Nance does not require that the

claim raised in Petitioner’s Ground XXIII be brought pursuant to § 2254.

Judge Hunt was correct in denying the claim without prejudice to

Petitioner raising the claim in a § 1983 complaint.           Accordingly,

Petitioner’s motion to reopen this matter (Dkt. 89) is DENIED.

     SO ORDERED this 1st day of March, 2022.



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